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                         UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                         )

                                                 )
              v.
                                                 )          Criminal No. 5:24-cr-97-TPB-PRL

DANIEL BALL,                                     )

             Defendant.                          )

                     NOTICE OF DISMISSAL IN OTHER DISTRICT

       Daniel Ball, by and through undersigned counsel, respectfully gives notice of the U.S.

District Court for the District of Columbia’s order dismissing United States v. Daniel Ball, No.

1:23-cr-00160-RC-1 (D.D.C.), with prejudice, see Exhibit A; see also Exhibit B, pursuant to the

government’s motion to dismiss, see Exhibit C.



                                                     Respectfully submitted,

                                                     _________/s/_______________
                                                     Amy C. Collins
                                                     D.C. Bar No. 1708316
                                                     888 17th Street, NW, Suite 1200
                                                     Washington, D.C. 20006
                                                     (228) 424-0609
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                                                     Counsel for Daniel Ball




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 30th day of January 2025, I caused a true and correct

copy of the foregoing Notice to be delivered via CM/ECF to all parties.


                                                    _________/s/_______________




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